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NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA
                                                     Criminal Action No. 13-558 (MAS)
                      v.

VARIAN CHARLES, a/k/a "Bob," et al.,                 MEMORANDUM OPINION

                       Defendants.


       This matter comes before the Court on Defendant Wilbur Senat's ("Defendant" or "Senat")

motion for post-trial relief pursuant to Rules 29 and 33 of the Federal Rules of Criminal Procedure

(ECF No. 210), and the Court, having considered the parties' submissions, decides the matter

without oral argument.

I.     Background

       On May 1, 2014, Defendant was charged with conspiracy to engage in sex trafficking of

children, conspiracy to transport minors to engage in prostitution, and transportation of a minor to

engage in prostitution. (ECF No. 85.) In addition, co-defendant Varian Charles ("Mr. Charles"),

was charged with conspiracy to engage in sex trafficking of children and conspiracy to transport

minors to engage in prostitution. (Id.) On July 20, 2015, the trial of Defendant and co-defendant

Mr. Charles commenced. (ECF No. 179.) At the conclusion of the Government's case, Defendant

moved for a judgment of acquittal pursuant to Rule 29 of the Federal Rules of Criminal Procedure.

(Tr. 83:7-88:20, July27, 2015, ECF No. 206.) The Court reserved decision on Defendant's motion.

(Id. at 88:21-89:1-3.) On July29, 2015, the jury convicted Defendant of sex trafficking of children

and transportation of a minor to engage in prostitution. (ECF No. 195.) The jury, however,
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acquitted both Defendant and Mr. Charles of all conspiracy charges. (Id.) On August 26, 2015,

Defendant filed this second acquittal motion pursuant to Rule 29 and also moved for a new trial

pursuant to Rule 33 of the Federal Rules of Criminal Procedure. (ECF No. 210.)

II.    Request for Rule 29 Relief

       In support of his motion, Defendant argues that he is entitled to a judgment of acquittal

pursuant to Rule 29 of the Federal Rules of Criminal Procedure because no rational jury could

have concluded that: (a) "[he] 'knew or recklessly' disregarded [that] Ms. Cabrera was under 18

years old" (Def.'s Moving Br. 6-8, ECF No. 210-1), or (b) "[he] knew [that] Ms. Cabrera would

be caused to engage in prostitution" (id. at 8-10). As discussed below, Defendant's arguments

ignore the evidence that was presented to the jury at trial.

       A.      Legal Standard

       Rule 29 provides that "the court on the defendant's motion must enter a judgment of

acquittal of any offense for which the evidence is insufficient to sustain a conviction." Fed. R.

Crim. P. 29. The defendant seeking relief under Rule 29 bears "a very heavy burden." United

States v. Anderson, 108 F.3d 478, 481 (3d Cir. 1997). The court must view the totality of the

evidence, resolving competing inferences and credibility issues in the prosecution's favor. United

States v. Hart, 273 F.3d 363, 371 (3d Cir. 2001). If "any rational trier of fact could have found

proof of guilt beyond a reasonable doubt," Rule 29 relief must be denied. United States v. Silveus,

542 F.3d 993, 1002 (3d Cir. 2008).

       B.      Analysis

       Under 18 U.S.C. § 1591, to convict a defendant for engaging in the sex trafficking of a

child, a jury must find that:      (1) [t]he defendant knowingly recruited, enticed, harbored,

transported, provided, obtained or maintained by any means, a person; (2) defendant did so



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knowing, or in reckless disregard of the fact that the person was not eighteen-years old and would

be caused to engage in a commercial sex act; and (3) the recruiting, enticing, harboring,

transporting, providing, obtaining, or maintaining was in or affecting commerce. See Fed. Crim.

Jury Instr. 7th Cir. 1591(1) (2012 ed.). Here, Defendant disputes the jury's findings only with

respect to the second requirement for a conviction under§ 1591.

               1.      Knowing or Recklessly Disregarding that Victim Was Not Eighteen

       Defendant argues that no rational jury could have concluded that he knew the victim's age.

(Def.' s Moving Br. 6.) Defendant correctly recognizes that pursuant to § 1591 (c), the Government

need not prove that a defendant knew or recklessly disregarded that the victim was under eighteen

years old if the Defendant had a reasonable opportunity to observe the victim. Defendant,

however, contends that the jury instruction on this provision was unclear because the statute does

not define what a "reasonable opportunity to observe" means. (Id. at 7.) Specifically, Defendant

contends that "the jury charge provided no guidance as to whether the focus is properly the

reasonableness of the opportunity or the reasonableness of the conclusions drawn from the

observations of the alleged victim." (Id.) The Court disagrees with Defendant.

       As an initial matter, Defendant does not cite any authority for the proposition that

"reasonable opportunity to observe" is vague. In addition, the Court's instruction regarding the

"reasonable opportunity to observe" followed the exact wording of 18 U.S.C. § 1591(c).

(Tr. 24:23-25:1, July 28, 2015, ECF No. 207) ("If you find that the [D]efendant had a reasonable

opportunity to observe Samantha Cabrera, you may consider that as evidence that the defendant

recklessly disregarded her age."). Here, the Government presented evidence showing that the

Defendant met with the victim in August of2011 and thereafter spoke with her on the phone almost

daily. (Tr. 111 :6-123, July 21, 2015, ECF No. 202.) In addition, the victim testified that they met



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in person, saw each other several days in a row, and that she told the Defendant that she was 15

years old before he brought her to the motel room in Nyack, New York. (Tr. 123:3-131 :9, July 21,

2015.) The victim also testified that she and the Defendant had sexual intercourse. (Id. at 127:6-

128:2; 135:13-14.) Accordingly, there was sufficient evidence for the jury to find that the

Defendant had a reasonable opportunity to observe the victim, and thus recklessly disregarded her

age.

                2.      Knowing or Recklessly Disregarding that Victim Would Be Caused to
                        Engage in Prostitution

        Defendant additionally argues that no rational jury could have found that he knew that the

victim would be caused to engage in prostitution. Specifically, Defendant contends that unlike co-

defendants Samuel Verrier 1 and Varian Charles, who had connections to prostitution, "[t]here was

no evidence presented that [he] was, in fact, engaged in prostitution in any manner." (Def.' s

Moving Br. 8.) Defendant, however, ignores the evidence showing that he caused the victim to

 engage in prostitution. Under a Rule 29 analysis, the court "must view the evidence in the light

most favorable to the verdict, and must presume that the jury has properly carried out its functions

of evaluating the credibility of the witnesses, finding the facts and drawing justifiable inferences."

 United States v. Coleman, 811 F .2d 804, 807 (3d Cir. 1987). Here, the victim testified that the

 Defendant told her she would be engaging in prostitution, and that she did, in fact, do so at the

 Defendant's behest. {Tr. 151:3-156:1; 168:3-21, July 21, 2005.) In addition, Roberto St. Fleur

 testified that the Defendant arranged for him to have sex with the victim in Nyack, New York. (Id.

 at 53:17-58:25.) Fleur also testified that he and four or five other men had sex with the victim in

 Nyack on the same night, and that the Defendant asked him to pay after he had sex with the victim.


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  Co-defendant Samuel Verrier was also charged in this case. On August 4, 2014, Mr. Verrier
 entered a guilty plea to one count of procuring the interstate travel of a person to engage in illicit
 sexual conduct for the purpose of private financial gain, in violation of 18 U.S.C. § 2423(d).

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 (Id. at 55:21-58:14.) Furthermore, Angelucy Chery testified that, at the Defendant's request, he

 booked the very same motel room at the Nyack Motor Lodge in which Defendant arranged for the

 victim to engage in prostitution. (Id. at 42: 11-43: 12.) In addition to this testimony, the Government

 also presented a hotel receipt and bus tickets that corroborated the victim's testimony. (Id. at 45:3-

 22, 142:11-143:6, 143:13-144:5.) Thus, the Court finds that there was sufficient evidence for the

 jury to find that the Defendant knew that the victim would be caused to engage in prostitution. 2

         Accordingly, Defendant's request for Rule 29 relief is denied.

 III.    Request for Rule 33 Relief

         In the alternative, Defendant argues that he is entitled to a new trial pursuant to Rule 33 of

 the Federal Rules of Criminal Procedure because: (a) the Government knowingly presented Ms.

 Cabrera's false testimony (Def.'s Moving Br. 10-13); and (b) evidence of the victim's false claims

 of sexual impropriety and use of force were improperly excluded pursuant to Rule 412 of the

 Federal Rules of Evidence (id. at 13). As discussed below, Defendant's arguments ignore much

 of the evidence that was presented to the jury at trial and misstate the law.

         A.      Legal Standard

         Rule 33 of the Federal Rules of Criminal Procedure provides that "[u]pon the defendant's

 motion, the court may vacate any judgment and grant a new trial if the interest of justice so

 requires." Fed. R. Crim. P. 33. A district court "can order a new trial only if it believes that there

 is a serious danger that a miscarriage of justice has occurred-that is, that an innocent person has

 been convicted." Silveus, 542 F.3d at 1004-05 (internal quotation marks omitted). "A court must



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   Having found that there was sufficient evidence for the jury to find that the Defendant knew that
 the victim would be caused to engage in prostitution, the Court also denies Defendant's motion for
 acquittal with respect to his conviction under 18 U.S.C. § 2423(a), which prohibits the
 transportation of minors with intent to engage in sexual activity.


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grant a motion for a new trial when a reasonable possibility exists that a trial error had a substantial

influence on the verdict." United States v. Hamilton, No. 05-876, 2010 WL 1027412, at *1 (D.N.J.

Mar. 18, 2010) (internal quotation marks omitted). A Court will find error when the conduct in

question was "sufficiently prejudicial to violate [a] defendant's due process rights." United States

v. Scarfo, 685 F .2d 842, 849 (3d Cir. 1982).

        B.      Analysis

        First, the introduction of false testimony, in and of itself, is not sufficient to warrant relief

under Rule 33. As the Second Circuit explained in United States v. Stewart, a case on which

Defendant relies, a new trial will not be granted when false testimony introduced at trial is

immaterial to the jury's decision to convict the defendant. 433 F.3d 273, 297 (2d Cir. 2006)

("[W]hen a trial has been tainted by false testimony, this Court is 'called upon to strike a fair

balance between the need for both integrity and finality in criminal prosecutions' by determining

whether false testimony was prejudicial in the sense that it affected the outcome of the trial.")

(quoting United States v. Stofsky, 527 F.2d 237, 239 (2d Cir. 1975)). Here, as discussed above,

Ms. Cabrera's testimony was corroborated on several, critical points. In particular, Ms. Cabrera's

testimony that the Defendant arranged for multiple men to have sex with her in exchange for

money in the Nyack Motel Lodge was corroborated by the testimony of Roberto St. Fleur,

Angelucy Chery, hotel receipts, and bus tickets. (Tr. 42:11-43:12, 53:17-58:15, July 21, 2015.) In

addition, Ms. Cabrera's testimony that she was under age at that time is corroborated by her birth

certificate. Finally, her testimony that Defendant transported her interstate is corroborated by

testimony from witnesses who saw her in New York and in Pennsylvania and by bus tickets, a bus

schedule, and cell phone records that were entered into evidence. In light of this corroborated

testimony that establishes the requisite elements of violations of 18 U.S.C. § 1591(a) and 18



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U.S.C. § 2423(a), the testimony that Defendant alleges is false - namely Ms. Cabrera's

overstatement of the number of men that she had sex with in Philadelphia, the duration of her stay

in Philadelphia, her statements that there were dead bodies in the basement of the Philadelphia

"home", and that her father sexually abused her - is immaterial to the jury's decision to convict

the Defendant.

       Second, Defendant's argument that the Court incorrectly denied his application to question

the victim about her prior sexual conduct is based on a mischaracterization of the record. Federal

Rule of Evidence 412, which is commonly known as the federal "Rape Shield Law," provides that:

"(l) evidence offered to prove that a victim engaged in other sexual behavior; or (2) evidence

offered to prove a victim's sexual predisposition" is not admissible in a proceeding involving

alleged sexual misconduct. Fed. R. Evid. 412. Pursuant to this rule, the Court precluded Defendant

from asking about the victim's sexual history only when the victim had not admitted that the

accusations were false. (Tr. 88:25-89:14, July 21, 2015.) Although the Third Circuit has not ruled

on this issue, rulings in the Sixth, Eighth, and Tenth Circuits support this decision. In fact, the

Court's ruling was more permissive than the decisions in each of those Circuits. In contrast to the

Court's ruling, the Sixth, Eighth, and Tenth Circuits all held that a defendant cannot question a

victim on her previous allegations of sexual assault at all. 3 Here, Defendant had the opportunity

to explore fully on cross-examination any false statements that the victim made, whether it

concerned her past sexual conduct or not. Defendant was only precluded from questioning the




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  See United States v. Withorn, 204 F.3d 790, 795 (8th Cir. 2000) ("[I]mpeaching the victim's
truthfulness and showing her capability to fabricate a story are not recognized exceptions to Rule
412.") (internal citations omitted); United States v. Weir, No. 93-8130, 1994 WL 245230, at *1
(affirming exclusion of evidence of victim's prior rape allegation) (10th Cir. 1994); United States
v. Cardinal, 782 F.2d 34, 36 (6th Cir. 1986) (rejecting contention that prior allegations of sexual
assault are admissible to impeach credibility).

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victim about references to past sexual conduct that the victim contended were true. Thus,

Defendant had a full opportunity to, and did, attack Ms. Cabrera's credibility.

       Accordingly, there is no serious danger that a miscarriage of justice occurred in this case,

and Defendant is not entitled to a new trial.

IV.    Conclusion

       For the reasons set forth above, Defendant's Motion for Judgment of Acquittal, or in the

alternative for a New Trial, is denied.


                                                             s/ Michael A. Shipp
                                                             MICHAEL A. SHIPP
                                                             UNITED STATES DISTRICT JUDGE
Dated: January 28, 2016




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